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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                         :
PRODUCTS LIABILITY LITIGATION                        :       MDL No. 2592
                                                     :
                                                     :       SECTION L
THIS DOCUMENT RELATES TO                             :
                                                     :
Randall Rager v. Janssen Research                    :       JUDGE ELDON E. FALLON
& Development LLC, et al; 2:16-cv-12901              :       MAGISTRATE JUDGE NORTH
                                                     :

   ORDER TO SHOW CAUSE REGARDING PLAINTIFF’S FAILURE TO CURE
PLAINTIFF FACT SHEET DEFICIENCIES AND SERVE A FULLY COMPLETE AND
   UPDATED PLAINTIFF FACT SHEET AND PARTICIPATE IN DISCOVERY
                        PURSUANT TO CMO 6

       Plaintiff Randall Rager has filed a lawsuit regarding the medication Xarelto®, which is

currently pending in this MDL No. 2592, In re: Xarelto (Rivaroxaban) Products Liability

Litigation. This is a CMO 6 Wave 1 case that was randomly selected on April 30, 2018. Pursuant

to CMO 6, Plaintiff was required to update the PFS and “complete all sections” of the fact sheet

by May 30, 2018. See CMO 6 ¶ 5(a) and PTO 13. This deadline was more than 250 days ago, but

to date, a complete and verified PFS has not been submitted.

       Plaintiff submitted an amended but incomplete PFS on June 15, 2018. Defendants notified

Plaintiff of the deficiencies in this PFS on June 19, 2018. Another amended PFS was submitted

on October 8, 2018, but it was not accompanied by a new declaration verifying the truth and

accuracy of the PFS, as required by PTO 13. See PTO 13 ¶ 3. Instead, Plaintiff submitted a

photocopy of a declaration previously submitted in this case.

       Defendants first notified Plaintiff of this deficiency on October 8, and again on November

30, 2018, and requested that Plaintiff cure the deficiency within 20 days. More than 125 days have

passed since this first notice, but to date, Plaintiff has not submitted a new declaration verifying
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the truth and accuracy of the statements in his amended PFS. In the interim, Defendants’ counsel

met and conferred with Plaintiff’s counsel in an attempt to cure this deficiency. On February 6,

2019, Plaintiff’s counsel advised that their efforts to communicate with Plaintiff have been

unsuccessful and that Plaintiff has become non-responsive.

       The delay in curing the PFS deficiency is unwarranted. If Plaintiff is not willing to pursue

this case and participate in discovery pursuant to CMO 6 and PTO 13, the case cannot proceed and

should be dismissed with prejudice.

       Failure to show cause by appearing before this Court at 9:15 am on March 12, 2019,

in Courtroom C-456 U.S. Federal Building, 500 Poydras Street, New Orleans, Louisiana, will

result in dismissal of Plaintiff’s case with prejudice.



                                                   February
       New Orleans, Louisiana, on this ___ day of _______________ 2019.


                                                          ____________________________________
                                                          United States District Judge




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